Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 1 of 52

EXHIBIT 20
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 2 of 52

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION,
et al.,

Plaintiffs,

Civil Action No.
98-CV-5591

Vv.

ALBERTO R. GONZALES, in his official
capacity as Attorney General of the United -
States,

Nae ee a ee Se Se Se Se Se Se”

- Defendant.

_ Set of Interrogatories (“Interrogatories”) as follows:

SALON MEDIA GROUP INC. RESPONSES AND OBJECTIONS TO DEFENDANT’S
FIRST SET OF INTERROGATORIES

Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Salon

Media Group Inc. (“Plaintiff”) responds and objects to Defendant Alberto R. Gonzales’s First

P

‘GENERAL OBJECTIONS

1. Plaintiff objects to the Interrogatories to the extent the instructions and demands therein
purport to impose obligations in addition to, beyond, or different from those set forth in
the Federal Rules of Civil Procedure and the Rules of Civil Procedure of the United
States District Court for the Eastern District of Pennsylvania.

2. Plaintiff objects to the Interro gatories to the extent they call for the identification or -
disclosure of information that is neither relevant to the claims and defenses of any party
in this action nor reasonably calculated to lead to the discovery of admissible evidence.
Plaintiff submits these responses and objections without conceding the relevance or

materiality of the subject matter of any interrogatory.
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 3 of 52

INTERROGATORY NO. 13

: For each website plaintiff, identify a representative sample of webpages on your
website which contains material about which you fear prosecution under COPA, as referenced in
Paragraph 2 in the section titled “The Impact of COPA on Plaintiffs” on page 24 of the Amended
Complaint that “[P]laintiffs fear prosecution under COPA for communicating, sending,
displaying, or distributing material that might be deemed “harmful to minors’ by some
community in the United States.”
RESPONSE TO INTERROGATORY NO. 13

Plaintiff objects that this Interro gatory is premature, unreasonably cumulative and
duplicative of Document Request No. 1, and calls for identification of information that is in the
public domain. Plaintiff also objects that the phrases used to define “representative sample,”
including “distribution of characteristics,” “degree of explicitness of sexual content,” and
“population or universe” are vague and ambiguous. Subject to the fore going and to the General
Objections, Plaintiff refers to the web content identified in the Amended Complaint and responds
as follows:

1) http://dir.salon.com/topics/sex/index.html (last viewed October 23, 2005) and the
links accessible therein contain, articles discussing, among other things, various forms of sexual _
contact and activity, human genitalia, and human sexuality generally;

— 2) http://dir salon.com/topics/sexuality index.html (last viewed October 23, 2005)
and the links accessible therein contain, articles discussing, among other things, various forms of

sexual contact and activity, human genitalia, and human sexuality generally;

Il
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 4 of 52

3) http://dir.salon.com/topics/homosexuality/index. htm! (last viewed October 23,
2005) and the links accessible therein contain, articles discussing, among other things, various
forms of sexual contact and activity, human genitalia, and human sexuality generally;

4) http://dir.salon.com/topics/gay/index.html (last viewed October 23, 2005) and the
links accessible therein contain, articles discussing, among other things, various forms of sexual
contact and activity, human genitalia, and human sexuality generally;

5) hitp://dir salon.com/opics/lesbians/index html (last viewed October 23, 2005)
and the links accessible therein contain, articles discussing, among other things, various forms of
sexual contact and activity, human genitalia, and human sexuality generally;

6) http:/dir.salon.com/topics/oral_sex/index.html(last viewed October 23, 2005) and
the links accessible therein contain, articles discussing, among other things, various forms of _

sexual contact and activity, human genitalia, and human sexuality generally;

7) http://www.salon.com/dialogue/ (last viewed October 27, 2005) and the links

accessible therein contain or may contain in the future, among other things, candid and explicit

comments or questions on a diverse category of topics posted directly by Internet web users.
INTERROGATORY NO. 14

For each website plaintiff, identify a representative sample of webpages on your
website which you believe contains material that has serious literary, artistic, political, scientific
and/or social value for adults.
RESPONSE TO INTERROGATORY NO. 14

Plaintiff objects to the extent this Interrogatory calls for the identification of

information that is neither relevant to the claims and defenses of any party in this action nor

‘reasonably calculated to lead to the discovery of admissible evidence. COPA does not take into

12
jcn.com Life | You pussy!

http://www.salon.com/mwt/feature/200 1/02/28/pussy/index.html
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 5 of 52

Search About Salon Table Talk Newsletters Advertise in Salon Investor Relations

salon.com

BECOME A SALON MEMBER [IT'S FREE) » Find out more | Login

Search

eS

®) All of Salon.com
© only Life
© The Web with

Directory

Hot Topics

Anne Lamott

Match Made in
Heaven Match Made
in Hell

Marriage

Since You Asked
Lynda Barry

Articles by date

@ All of Salon.com
® By department

Arts & Entertainment

- The Movie Page
Books

Comics

Life

News

People

Politics

sex

Tech & Business
- Free Software
Project

Audio

- Salon Radio

Letters
Colurnnists
Corrections

Salon Plus

Salon Shop
Personals

You pussy!

If ever there was a
word in need of rehab,
it is this feline
expletive reserved for
wimps. oO

By Margot
Magowan

Feb. 28, 2001 |
"What a pussy!"
shouted my friend Joe.
He was complaining
to me about a business
partner who backed
out of a deal at the last
minute. Joe wanted sympathy, but I was snagged on the
word "pussy."

The night before Joe's outburst, I'd been channel surfing

and caught Barbara Walters interviewing Jane Fonda about -

her performance in Eve Ensler's wildly successful play,
"The Vagina Monologues."

"You can't talk about vaginas," Fonda
said to Walters, "and not talk about this
remarkable ability they have to give birth. Print story
It's awesome. If penises could do what

vaginas could do, they'd be on postage E-mail story
stamps. I mean, vaginas are absolutely

extraordinary."

Listening to Fonda, I thought, "We have come a long way,
baby." Just a few years ago, producers forbade actress
Cybill Shepherd to utter the V-word on her own TV show.
It was, they said, obscene.

I noted the further progress of female genitalia in

ISALON GEAR—>|
Don't get
sunburned! Cover up
with a Saion T-shirt
this summer.

Extra goodies and
great services in
Salon Plus

DEFENDANT'S
EXHIBIT, |
fr Tp 2liape

fy
i

Current Stories
e My husband
thinks I should
make more
money I'm doing
the kind of work I
love, but he's
earning so much
more!

By Cary Tennis

e Will T ever get
over my parents’
Suicides? I used
to be a carefree
person. Now I am
trapped by tragic
history.

By Cary Tennis

e The campus

02/16/2006 4:34 PM
_ ilon.com Life | You pussy!

http://www.salon.com/mwt/Teature/2UU 1/U.2/<6/pussy/Index. num

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 6 of 52

Table Talk
[Free, spirited
Salon forums]

The media-made war
between working and
stay-at-home moms.

How do you make
your household run
more smoothly?

e Posts of the week

The Well
[Pioneering
members-only
discussions]

Delving into John
Lennon's life

Sound Off

@ E-mail Salon
® Send us a Letter to

the Editor
® Today's letters

Downloads
@ Get Salon.com on

your PDA
@ Salon.com

headlines from My
Netscape

® More ways to get
Salton

mainstream media when I spotted fresh-faced actress
Claire Danes sporting a "V-Day" T-shirt on the cover of

‘March's issue of Marie Claire, in which women like

Brooke Shields, Marisa Tomei and Calista Flockhart were
asked, among other things: If your vagina could talk, what
would it say, and if it could wear clothes, what would it
wear?

So pussy power was in the air when Joe launched his
diatribe. Suddenly it struck me as wrong that the word
"pussy" is used to imply cowardice or ineffectiveness.
Why must we equate weakness with the female sex organ?
Why have we for so long?

I began to wonder how one — how we -- might take the
wussy out of pussy.

Is it possible to change the meaning of the word, to restore
to "pussy" its deserved glory? Could we use pussy as a
compliment? Could pussy denote someone or something as
cool or heroic or impressive? "Rosa Parks -- what a

pussy!" or "John McCain is way pussy!" or "New York is a
big ol' pussy!"

At the moment, "pussy" isn't even used to slight women
directly. It is reserved for men, used among them to make
fun of one another. It's "sissy" for male heteros. It's the
politically correct big boy's way of calling somebody a fag.
And, please, don't get me started on "pussy-whipped.”

People say "dick," they say "asshole," they say "prick," but
they do it with respect. Those words have power and
punch, the way the word "cunt" has power. But "cunt"
makes people shudder; they judge, perhaps wrongly, the
user of the word. Meanwhile, poor "pussy" lies there limp,
pathetic and, until this moment, defenseless.

Ensler does a fabulous soliloquy to "cunt" in "The Vagina
Monologues." Perched on a stool in her black cocktail _
dress, barefoot, throwing back her head, shaking her
Louise Brooks haircut, she says the word "cunt" for about
10 minutes, obviously relishing each repetition. But what
does she say about pussy? If she said anything, I couldn't
remember. Is pussy so forgettable?

To find answers -- and to solicit allies in rehabilitating the
word -- I went to novelist and essayist Erica Jong, a
pioneer in reclaiming language in her own writing, and a
recent star of "The Vagina Monologues." .

Jong told me that there are, in fact, a couple of references
to pussy in the "Monologues," though they're mostly
humorous, such as "Don't let him tell you it smells like
roses when it's supposed to smell like pussy!"

crusade for guys
Worried about the
steadily declining
number of male
students, some
colleges and
universities
appear to be
practicing
affirmative action
for men.

By Sarah:
Karnasiewicz

® The objects of
our affection
From preppy
perfume to
Portuguese love
songs, six writers
share the
Valentine's Day
goodies that
really get their
hearts racing.

02/16/2006 4:34 PM
ralon.com Life | You pussy!

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 7 of 52

30f 5

http://www.salon.com/mwt/feature/2001/02/2 8/pussy/index.html

She thinks changing the popular meaning of the word is
possible. "If we use it with positive intent, it will become
positive," she said. "I really don't know how long it will
take. Language changes, but changes slowly. It depends on
the usage -- whether the new connotation catches on."

Jong warned it wouldn't be easy. "My feeling is that we're
on the verge of reclaiming 'cunt,' a fine old Middle English
word, but we're not there yet with ‘pussy, said Jong.
"Pussy remains humorous, if not insulting. At the moment
pussy is a laugh word. It always gets them rolling on the
floors in "Vagina."

Jong suggested I go to the vagina mama herself, Ensler, to
ask her advice.

"T like the sound of 'pussy,"" Ensler told me, smiling. "I
think it's a good word."

She agreed that it's different from cunt. "A cunt is someone

‘who dreams the big dream. You are ambitious. You want

to go the distance." Hillary Rodham Clinton, she told me,
is a cunt.

Pussy, she said, is more personal. "Pussy is wet, juicy and
inviting. It could be used as a word.of empowerment or
honor. It's a feisty word. There's a little fear, a little danger
there -- you better be nice if you want my pussy.”

Pussy has so much potential, it's a shame to limit it to the
immature and derisive mocking of weak boys. Let's give it
a shot in the arm! I envision hit songs featuring "pussy" -
"Who Let the Pussies Out?" or "The Real Slim Pussy" or
"The Real Shady Pussy." Hallmark-type cards that read
"Thanks for being such a pussy!" Colloquial expressions:
"You da pussy!" "Stand up and fight like a pussy!"

And when, and if, Joe consummates his next business deal,
I'll be there to toast him, saying, "You're so pussy."

Flattered, he'll smile.

salon.com

About the writer

Margot Magowan is a writer in San
Francisco and co-founder of the
Woodhull Institute. As part of her
campaign to rehabilitate the word
"pussy," she has a "Team Pussy" Web

02/16/2006 4:34 PM
saton.com Life | You pussy!

htt
Case 2:98-cv-05591-LR Document 292-16 Fy

site.

Sound Off
Send us a Letter to the Editor

Related stories

- The taste of a woman

Men aren't the only ones who can
make themselves sweet for their
lovers.

By Emily Torres

09/18/00

Knowing what's up down there

Life is one long vagina monologue for
this precocious teen, the daughter of a
sex educator.

By Carmen Winant

05/17/00

Snacking

If only women would trust men's
genuine desire to give oral sex, instead
of presuming it's all about intercourse.
By Dylan Edwards

05/02/00

i Salon.com >> Life

Iilustration by Bob Watts/Salon

//éwww.salon.com/mwt/feature/200 1/02/28/pussy/index.html
ed 09/07/06 Page 8 of 52

Order "Mothers Who Think: Tales of Real-Life Parenthood" from the editors of Mothers Who Think.

Salon Search About Salon Table Talk Newsletters Advertise in Salon Investor Relations

Arts & Entertainment | Books | Comics | Mothers Who Think | News

People | Politics | Sex | Tech & Business and The Free Software Project

Letters | Columnists | Salon Plus | Salon Shop

Reproduction of material from any Salon pages without written permission is strictly prohibited
Copyright 2005 Salon.com

Lof5

02/16/2006 4:34 PM
salon.com Life | You pussy! http://www.salon.com/mwt/feature/200 1/02/28/pussy/index.html
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 9 of 52 a

Sajon, 22 4th Street, 16th Floor, San Francisco, CA 94103
Telephone 415 645-9200 | Fax 415 645-9204
E-mail | Salon.com Privacy Policy

3 of 5 02/16/2006 4:34 PM
lon | Susie Bright http://www.salon.com/march97/porn970318.htm!
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 10 of 52

SALON + CONTACT US + ARCHIVED ARTICLES + TABLE TALK

ALY FIEST PORN BYOVIE.
BEEGHT]

I was introduced to the IDEA of pornography in
three different ways. For starters, I knew it was a
men's club thing, boys only, no girls allowed unless
you show your titties. I imagined it was a bunch of
Type A bullies, chauvinist to the bone, who couldn't
look at a girl without reducing her to a bra size.
"Porn exploits women" -- isn't that the first thing a
young lady learns about the cold cruel world? It's a
synonym for Men Use Women in the most
calculating way.

Second, I knew pornography was a business with a
capital B. Millions of dollars were said to be made
at it; it was an industry with a lingam instead of a
smokestack, blowing clouds of jizz and peep-show
quarters.

Finally, I thought that the porn industry started at
cheesy, moved on to gross, and ended at its logical
resting place: the snuff film.

My real-world introduction to porn started with
these thoughts in my head, and the whole mess was
so intimidating to me that I would never have taken
a peek into it myself -- if my new girlfriend, Honey,
hadn't gotten a job working as a cashier at the
Market Street Cinema, a big porn theater in
downtown San Francisco that featured live strippers
and classic X-rated movies.

DEFENDANT'S
> EXHIBIT
f, ve i

When Honey came home from work, she told me
that the whole place smelled really bad, and that she

Lor7 02/16/2006 4:35 PM
ai0n | Ousie Brignt ELLLY AL VY WV CLL EAU LLL da PP ULI PM LO DIELS

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 11 of 52

could chain-smoke her entire shift. She said there
were some girls who were beautiful working there,
some of them with mouths as smart as their stage
whips, and some so sad you wanted to cry. The next
week she told me she went to change the light bulb
in the ladies' john, and when she unscrewed the
lamp fixture, somebody's dirty works fell on her
head.

One afternoon, Honey called me up from the theater
and said, "You've really got to come down here,
they're showing an incredible film, "Desire for
Men.” She said that the featured actress was a
blonde named Long Jeanne Silver, a woman with a
peg leg. I said I'd be right down. ,

m My first revelation about porn

| movies was that they were, in
fact, movies. I don't know why
-- all the hysteria about how bad
they were, how dehumanizing --
but it was genuinely a shock to .
me to see a full-length feature with real actors and
real drama, sexual drama, unfolding before me.
They weren't just bodies, they opened their mouths;
and you could tell this one came from Queens, and
this one was a surfer, and this one was a little brat,
and this fellow was so full of himself it was almost
endearing. Sometimes the director had the gods
with him, and I actually got drawn into the little
story or setup he was creating. Sometimes I could
tell it was all they could do to get the sex act on
film. But then when the sex did happen -- cock
entering cunt, tongue licking ass, faces all crazy
when they came -- my goodness, docudramas don't
get any realer than this! The put-up-or-shut-up
authenticity of it all was audacious, it was radical.

Another thing I could see about porn -- and this has
changed a lot since video took over -- was that it
was far less formulaic than Hollywood or television
in some ways. Long Jeanne Silver was only the.
beginning of an endless list of actresses who had
every physical attribute under the sun. You can look
like whatever you are and be a porn star.

Directors also had their little stamp; they were
instantly recognizable, every one an auteur. They
had this crass list of what kind of sex had to be in

» of7 02/16/2006 4:35 PM
alon | Susie Bright ottp://www.salon.com/march? //porn? /0516.ntml
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 12 of 52

the film, but other than the "position" agenda, they
were on their own voyage. Some directors had a
social message they were determined to get in,
along with the fucking and sucking. Some were
clearly in love with one of the players, and built the
film around their infatuation. Some thought they
were producing the cinematic follow-up to
"Sympathy for the Devil." Others obviously had a
wonderful time doing all that blow and dope, and
just wanted to show you what a great party you
missed. Many porn directors are cinematographers
who simply have an undying love affair with their
lens. I'll never forget the time a close friend of mine
in the business pointed out a porn film that I'd
enjoyed tremendously called "3 AM," and said of
the director, "He was Orson Welles' cameraman for
15 years.”

I was not consciously aroused the first time I went
to a porn theater. For one thing, 1 was shocked by
the quality; for another, I was terrified that one of
the paying customers at the theater was going to
molest me. I was once felt up by some jerk when I
was 14, at a screening of "The Lady and the Tramp"
that I attended by myself, so I just sort of multiplied
the consequences of going from a Disney flick to a
smut screen. At the very least, I feared that the seat
I chose in the dark would inevitably turn out to be
covered with cold, wet come. My girlfriend lent me
a flashlight.

As it happens, the men in the theater were much
more frightened of me than I was of them. They
scattered from every row I approached; I began to
see that their eyes held the frankly paranoid
delusion that I had been sent by someone -- their
wife? their boss? -- to spy on them. The most
disgusting aspect of a porn theater is what an
assembly of closet cases the audience is. Everyone
is deadly quiet, except for the popcorn crunching
and the breathing of those in the back getting blow
jobs from their brethren. When something funny
happened in the movie, which was quite common, I
would laugh out loud -- and completely alone. In all —
my time in porn theaters, strip joints, and peep
shows -- and believe me, I've logged as many hours
as any raincoater you'll ever meet -- I have only
been spoken to, in a conversational way, two or
three times. I have to hand it to the first guy who

3 of 7 ‘ 02/16/2006 4:35 PM
alon | Susie Bright http:/Avww.salon.com/march97/porn9703 18 .btml
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 13 of 52

approached me -- he got right to the point: "Why
are you here?"

In the beginning, I wasn't sure why I was there. I
was crazy about movies, and I thought porn had
really gotten a raw deal, being so unwelcome in
normal dinner table conversations. I was really in
love with my girlfriend; I thought she was a genius
and a great adventurer. And I was a feminist
working in a "feminist vibrator store" where we
were so politically correct that we didn't carry
anything that looked like a penis (at least not in
front of the counter), and when our customers asked
us about "erotica," we really didn't have a clue how
to advise them. I felt it was my professional and
political duty to find out what and where all the
good dirty movies were.

But the other concern, in the back of my mind, was -
that I wondered if I was capable of being aroused by
pictures, still or moving, of people in the act of
sexual abandon. I had no experience of it. I
certainly had been frightened by those kinky
Polaroids I found when I was a child, and I had
pawed through Playboys I found at my father's
‘house, but they were more like anatomy lessons to
me, of cheesecake that I could admire or wonder
about. They never made me reach down and touch
myself.

Reading, on the other hand, reading sexy stories,
was my very, very favorite way of getting off. I had
mastered the art of holding a book and turning the
pages with one hand while fingering my clit with
the other. Those words on the page, the Penthouse
letters in all their "needless to say" glory -- just
thinking about the font that those letters were set in
makes me all creamy with nostalgia. I had my
favorite fantasies, and when I saw them in print, it
was like a direct line to my orgasm. I had never had
that experience with living color photography.

Now my girlfriend had several jobs, one of them as
the porn cashier and another as a banquet waitress
working out of a union hiring hall. She was about
the only woman working in a crew of the most
unbelievable set of queens you'd ever hope to meet
in the Tenderloin. One of her favorite work partners
was named Victor -- rest in peace, my friend -- a

4 of 7 : 02/16/2006 4:35 PM
alon | Susie Bright . a http://www.salon.com/march97/porn9703 18 html
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 14 of 52

Texas immigrant and totally devout Catholic who
carried two books in his satchel: a leather-bound
Bible, and a paperback copy of a little classic called
"How to Enlarge Your Penis." Victor thought I was
beautiful, he thought I had the figure of Marilyn
Monroe. He gave me pearls for my birthday, and
‘one day, after some outrageous fight he'd had with a
lover, he decided to move all of his belongings into
storage, and asked if I would like to "borrow" his
big-screen TV/VCR. He left me a few videos, too,
all "straight" -- since, par for the course, Victor had
no voyeuristic interest in watching gay male
performances, only men with women.

The first movie I watched at home was some sort of
sailboat orgy fiesta. ] was excited before I even
pressed the PLAY button, because I'd made sure no
one was at home, and I felt altogether uninhibited --
much more free and comfortable than in the Market
Street movie palace.

I watched the couple on the sailboat giggle and take
their clothes off, but I couldn't make out any
dialogue -- Victor's audio system seemed to be
hopelessly broken. "Mrwarrrr rahhdgh blehhh,"
went the girl who proffered her ass to the camera.
This was getting annoying. I didn't feel the least bit
attracted to anything. I poked the STOP button and
felt like slapping somebody. Then I made a very
important move, so dreamily and intuitively that I
couldn't have told you where I thought it would
lead. I plugged in my vibrator, put it in my lap, and
pushed PLAY again. The same idiots frolicked
under the sails; the camera moved close to the fat
guy's cock; it was enormous, purple veins, the
whole deal. Then we moved to the girl's behind, all
plump and spanky, her hands reached behind to pull
her cheeks apart, and she had a forest of dark hair
running up her cunt to her ass. There were drops of
something on her pussy hair, it was matted in
places, wet. The camera and the stud moved closer
to her, one of them expertly parted her thighs and
lifted her a little with one hand, and right then, just
with the tip, the purple cock slid in. My clit jumped
like an alarm clock.

I never would have felt it if the vibrator hadn't been
humming against me. You have to remember,
above the neck I was watching this silly trash and

5 of 7 02/16/2006 4:35 Ply
5 of 7

ion | Susie Bright

hitp://www.salon.com/march97/porn? /U5 16.ntml

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 15 of 52

saying, "What a piece of silly trash!" But when his
cock touched her, the opening of her wet lips, the
words flashed across my mind's eye -- he's fucking
her from behind -- and I came like a bullet.

Well, of course, the first time is always a little bit
special. I don't remember the name of the movie,
which is so much like the anonymous heroism of
porn -- you never learn the name of the person who
saves you. Many porn flicks later, I would find that
I was a sucker for any sort of rear approach -- don't
even bother trying to figure it out, it's just another
point of light in my thousands of irrational
fantasies, but the first time was such an
illumination. I had only succeeded in turning off my
intellectual doubts and disdain by turning a Hitachi
Magic Wand directly onto my clit. God, no wonder
so many people are impervious to arguments about
the value of pornography -- clearly, it sometimes
takes a physical intervention!

My confrontation with Victor's gigantic screen was
the equivalent of Newton's apple: I began to
connect the dots. I saw in my own body how
inexplicable sensations could happen from seeing
pictures that triggered my fantasies, and that I only
relished these things when I felt uninhibited,
without anyone watching or judging me. I could see
how porn formulas were essentially a shotgun
approach to hitting a number of broad sexual
scenes, hoping that somewhere along the line the
viewers would find where their erotic mind met a
single frame -- and voila! That's the secret of the
pause button and the instant replay.

What I perceived was the Pink Elephant of the
pomography discussion: What turns you on may not
match your artistic values, your romantic choices in
real life, your political views, but it is just as much
a part of you, just as real and substantial, as any
other aspect. It's not a defect or a weakness, it's your
intuitive ability to take all that's unbearable and
crazy and unspeakable about life and turn it into
juice -- eroticism. Don't you dare go around with
your nose in the air pretending that anybody's
fantasies are low-class or despicable, because
without that juice you wouldn't be alive, wouldn't
be able to discriminate; you'd be a stranger both to
your capacities and your limits.

02/16/2006 4:35 PM
http://www.salon.com/march97/porn9703 18. btml

alon | Susie Bright
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 16 of 52

Pornography is like four-letter words -- an
unaccepted language that exists in every tongue in
the world, the first to be expressed and the first to .
be suppressed. Here's your world without porn -- a
world without sex, without creation. Expressing sex
is always the first way we try to communicate, and
it leaves its marks everywhere. Look at every
technological innovation in communications, from
cave drawings to the printing press to giant VCRs
to the Internet.

Porn has been more of an inspiration to me than I
could have guessed when I first accepted the dare to
walk on its turf. I looked, criticized, gasped, and got
my rocks off. But my interest went way beyond my
hormones. Before I knew it, reading other people's
sexual bodies became as revealing and
mind-bending to my world as only the greatest
works of art can be. Eventually, I had to roll my
own -- make my own erotic creations in print, with
my crummy camera and my friends who believed as
I did, that a pornographic sisterhood was potent
stuff. We didn't know what we were doing, we
hadn't one clue, but you know what? In the
pornographic imagination, not knowing what you're
doing gets awfully close to the truth.

March 18, 1997

Excerpted from "Susie Bright's Sexual State of the
Union," copyright 1997 by Susie Bright. Published by
Simon & Schuster. Printed by permission. Another
excerpt from the book appears in the March issue of
Playboy magazine.

What do you think of Susie Bright's views on porn?
Get it off your chest in Table Talk.

SALON + CONTACT ES + ARCHIVED ARTICLES + TABLE TALK

7 of 7 02/16/2006 4:35 PM
2lon.com Life | Rectal romance

Lof6

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 17 of 52

Low Rate Refinancing Looking for Local Stuff? 4.75% APY on new Print w/BlackBerry
Rates are going up - make sure We have local banking online Find deposits Print email attachments from your
your payments go down! Apply your banking online fast. The ING DIRECT Winter Save Up. BlackBerry to any fax machine!
online now. Sale No fees. No minimums. Apply

online.

http://www.salon.com

salon.com
. DEFENDANT'S
To print this page, select "Print" from the File menu of your browser EXHIBIT
G, soc 2 alah

Rectal romance

"You open your ass and you open your mind and you open your
heart.” Toni Bentley talks about her new anal sex memoir, "The
Surrender.”

peed

Oct. 8, 2004 | Asa young woman, Toni Bentley danced
with the New York City Ballet, and made a second career
writing well-reviewed books about it. She knew George
Balanchine and co-wrote Suzanne Farrell's autobiography, and
she can delicately describe the agony of toeshoes and the
psychological rigors of the barre. Now she has turned her
literary attention to another activity that stretches body, mind
and psyche: sodomy.

In "The Surrender," her 205-page "erotic memoir," by Page 26
Bentley has dispatched with her first orgasm (after French erotica on the Upper East Side), the loss of her
vaginal virginity (to a man who tells her, "You've got a great ass"), an affair with a stagehand who has her sit on
his face, and a 10-year marriage. She then sits back and luxuriates in her chronicle of her post-marriage sexual
experimentation. There is her cunnilingus-heavy affair with a masseur she continues to pay, her appreciation for
"Pussy Hounds" or men "who live to dive," and repeated threesomes with a Pre-Raphaelite redheaded woman
and a "Young Man," who later gets a new epithet, "A-Man." A-Man is the lover who introduces Bentley to anal
intercourse, the act that gives "The Surrender," and Bentley herself, a soul.

In addition to enjoying the physical act itself -- which she finds "unwinds" the lower bowels -- the atheist
Bentley insists that she found a spiritual ecstasy in buggery. She has been to the mountain and seen God; and
apparently, He likes it from behind. Despite her mad love for A-Man -- evidenced in no small part by the fact
that she keeps the condoms-and-K-Y detritus of their unions and a baggy-full of his pubic hair in a little memory
box -- Bentley staunchly resists a traditional commitment to him. The lovers do not meet outside the bedroom:
no monogamy, no dating, no shared friends, no movies or meals. In fact, the only food they consume together is
the occasional restorative snack between back-door intrusions. By the end of the book, A-Man is history, and
leveled Bentley is left to sort out her altered body, desires and devotions.

02/16/2006 4:36 PM

Ottp.//WWW.Salon. CODY MWY Teature/;2UUS/ LUIVo/DeDLiey/ Pritt td
ulon.com Life | Rectal romance http://www.salon.com/mwt/feature/2004/10/06/dentley/print. nom:

2 of 6

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 18 of 52

Even though it won't officially be available until next week, the book has, not surprisingly, garnered a lot of
attention. Bentley, speaking to Salon by phone from Los Angeles, spoke quickly and kindly and actually
sounded quite shy as she discussed anal hygiene, the costs of monogamy, and her conviction that her book will
anger feminists.

Your book is a memoir of anal sex. You describe your first time as surprising and ecstatic, not something
you stretched for, worked up to. So ... no searing pain?

You want the technical description? I use explicit language in the book, in a literary context, but using that
language out of context can be disheartening to me.

But no, it was absolutely not searing pain. It was astonishing. He was very slow and very gentle and very loving
and nothing was against my will and this was a very consensual act between two people. The most important
part of the act technically is slowness, and most men don't know how to do it properly. Men usually move too
fast with the other kind of sex. And you have to go way slower [with anal penetration]. The muscles are tighter.

"You could eat off my asshole," you write, describing your ritual ablutions. Can it be true that you did
not see, touch or smell shit during the 298 anal penetrations you describe? Is that a realistic expectation
for most people?

It's true. I am a regular woman. I don't want lots of pain, lots of bleeding, and I certainly don't want lots of shit
everywhere. You can help by being extremely hygenic, having good digestion ... But no, there was absolutely
zero shit factor. If there had been I wouldn't have done it.

Now, I don't think that's true for all people. Some people are even into it being not like that. But I am bearing
witness to my own experience and saying that it can be the way it was for me. All those gross-out factors were
completely absent.

I didn't set out to write a book about sex or anal sex at all. I had an experience, started keeping notes. I was
fascinated that I had this incredibly emotional and spiritual reaction to this act. The edge is fascinating to me. It's
the juxtaposition of the so-called high and low.

What's high and what's low about sodomy?

I completely understand that anal sex to many people, whether they love it or not, may be the most taboo sex act
or the basest sex act there is. You're going in the exit, a place you're not supposed to talk about, that you're
ashamed of, where you defecate. People have a dirty association with it.

Yet I had the most transcendent sexual experience from going there many times. I started reading about it ... It
started making so much sense: the contradiction of [going] in the back door. That Oscar Wilde line about being
in the gutter but looking at the stars. It was also about not being a snob, of not thinking, I won't go there. It's
vulgar. Balanchine believed in putting yourself out there and when I danced, I couldn't do that. I was too shy and
modest as a dancer.

How is the pleasure of anal sex different from the pleasure of vaginal sex?

First of all, the g-spot can absolutely be stimulated from your ass. But to me it's much more than that. There is a
great deal more trust. Because it could hurt, it could hurt like crazy. You have to be willing and open-minded in
a way you simply don't have to be with vaginal sex. It's pretty easy for a guy to get in [a vagina] whether a
woman wants it or not.

‘But it is a much more extreme physical feeling to release your muscles. We have very strong muscles there; we

all know that from what we usually do there. To release it, you open your ass and you open your mind and you

’ open your heart. For me it opened everything.

02/16/2006 4:36 PM
alon.com Life | Rectal romance http://www.salon.com/mwt/feature/2004/10/08/bentley/print-html

3 of 6

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 19 of 52

I cannot accentuate enough that it was with this one particular man. It's absolutely not that I am a woman who
loves anal sex. I loved anal sex with this man who J loved. And I think most of us women know a lot of men who
would like to go there, and I've said no as many times as anyone else. It takes a very gentle man to do it. A lot of
men are not up to it.

At the end of your book, you have only had anal sex with one other man. Now, years later, have you had
other anal relationships?

I would rather not talk about my personal life.

But you write in the book about your unwillingness to ask A-Man to commit. If you loved him so much
why didn't you want to make him a committed, monogamous part of your life?

I considered all of these things. I learned things about the magic we had between us. What creates that magic is
very complex ... And it only got better. [A-Man and I] discussed this: How come time 250 is better than time
249? Most committed, monogamous relationships are good for a week or six months, or if you're really lucky six
years. I did not have any girlfriends who were having as reliably and transcendentally good sex as I was. And if
we had a conventional movies-and-dinner relationship, I thought we would lose the magic.

I am not selling this type of relationship. I had a long and monogamous marriage to a man I loved very much. It
didn't work out, and my disappointment was unbelievably huge ... I didn't want the same kind of heartbreak
again. With A-Man, the sex never went bad. To me that's some kind of victory. My tolerance for certain kinds of
disappointment is very low and will probably never improve. So perfection is what's strived for. That's from
ballet. I saw it manifesting itself while watching Suzanne Farrell ... Transcendent things can happen in life.

But you did experience devastation when your relationship with A~-Man ended?

You cannot go that high without going that low. I was devastated, but I survived. It lasted an incredibly long
time at an incredibly high level. I took a huge risk with him in not being monogamous, and got extreme and
incredible sex that made all other sex incredibly profane in comparison. We had sacred sex.

But now that you're not having sacred sex anymore, is all other sex still profane? Do you enjoy vaginal
sex?

Oh sure, I love that too. That's great like everybody knows it's great. This was a different realm, an emotionally
different realm.

Do you think feminists are going to be ticked off by your book?

My book owes everything to the feminist movement. I am a product of that. J am a woman who had this
experience that was very unconventional ... I am interested in my sex: in experiencing it and in the powers it
holds for me. I am interested in our freedoms: You're a woman and I'm a woman having this conversation about
this kind of book -- this is fantastic! But I think some women will protest the obvious things that I am talking
about: submitting or surrender. I say feminism gave me the freedom to submit. Isn't this what we all want from

' feminism? The ability to choose conventional monogamy is a great option but not the only option.

And my ability to submit -- I wouldn't have been a woman who could have done that even 10 or 20 years ago.
Why not?

I tried what most women do: monogamy. I have never been unfaithful to any man who thought I was being
faithful to him. It's a point of integrity for me.

So I had the more conventional type of relationship until I left my marriage and began experimenting with many
things. But I don't think [anal sex] would have had resonance if I had been 23 years old. It was a very

02/16/2006 4:36 PM
‘alon.com Life | Rectal romance http://www.salon.com/mwt/feature/2004/10/08/bentley/print.himl
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 20 of 52

sophisticated tightrope walk. It came from incredible mutual respect. Nobody begged each other, nobody nagged
each other; we never talked about compromising for the greater good.

There were limitations, yes. We didn't have a commitment, but what that means I don't know. Most people who
have a commitment don't have what we had, which happened incredibly consistently until we ended it. I have a
great dislike for relationships [where] you get so close you start yelling and screaming at each other, blaming

- each other. He and I never did that. I would have never yelled at him; he would have never yelled at me.

You write that submitting to A-Man brought out your femininity. What is feminine to you? What is
masculine?

I suppose I think of it in terms of energies; all men and women have both masculine and feminine energies. The
feminine side in a man or woman is the more open, intuitive, feeling, sensitive, vulnerable, receptive side. And
the male side in both men and women would be the more aggressive, analytical, penetrating, knowledgeable,
intellectual side.

In relationships it's about how people play off each other. A very feminine woman and a very feminine man --
maybe you should go off and be gay. I don't believe you are going to be able to have fantastic sex that way. You
need polarized energies. Of course if a man is 100 percent masculine they're sort of Neanderthals and you can't
talk to them. But in my relationship with A-man where I became my most feminine sexually, he was the most
masculine of anyone I'd ever been with. I wanted him in control, which was an incredible relief to me.

The huge problem is you cannot give just anyone control. To give that up to some guy? On the whole you'd bea
' fool. He has to be trustworthy.

But it was the biggest relief I ever felt. Obviously I am an intelligent woman, a successful woman. I have written
all these books, danced for George Balanchine. I know all about control and the ultimate act for me is to be able
to give that up. It was the greatest gift to me to be able to be some kind of melting essence and not have to
control the situation, not have to dictate, not have to be on top technically and otherwise.

You refer to anal sex as one of the last taboos. The New York Times' review of your book pointed to
necrophilia and cannibalism as other examples. I'm looking at the Web site of a guy who claims to havea
loving and mutual sexual] relationship with a dolphin. What's one taboo over the line for you?

I do not believe in the abuse or humiliation of animals. They are noble, natural, innocent creatures who should
not be abused by humans doing their thing sexually. Otherwise, I am open-minded. Beyond the animals. If that's
your thing, that's your thing, as long as it's consensual.

You pin your awakening on anal sex. But you also write that oral sex with your masseur -- whom you
paid -- changed your life.

The masseur was a very big steppingstone in my coming-out party. He was the first lover I had after my
marriage. And it was also completely based on mutual respect. There was never going to be intercourse, and I
started developing this idea of the erotic having boundaries: no telephone, no mortgage bills, no cars that need
fixing, no mutual friends, no family. We were hermetically sealed in this erotic space where you do your thing
with each other. It was great until it was over, until he and I just moved on. It became one of my developing
theories: put limitations on things, make it a balancing act and tradeoff. I would rather have great sex than bad or
no sex with a dinner companion.

It sounds more like lowering expectations than demanding perfection.

It is about making expectations lower. The idea being, let them be who they are without trying to change
everything. Just try to let all the good exist and don't go where you'll be disappointed. If] wanted a full-on,
monogamous, going-on-vacation relationship with the masseur, it wouldn't have worked. I probably would have

Lof6 02/16/2006 4:36 PM
salon.com Life | Rectal romance ttp://www.salon.com/mwt/feature/2004/10/08/bentley/print html

|
| of 6
|

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 21 of 52
been in pain and disappointed and incredibly angry with him, which isn't pleasant for me, and not loving to him.

Can you talk a bit about the connections-you make in the book between being anally penetrated and
finding God?

This act took me to a place emotionally and mentally that I would call of a spiritual realm. The best way to say it
is that I went beyond my own ego, and most of us are mired in ego 24/7: all the constant self-criticism, self-love,
self-loathing.

While having this kind of sex [with A~-Man] I went beyond this voice in my head and beyond all control. And J
write in the book, beyond control lies God.

Giving up control is a profound thing. Who you do it with and the context of it is crucial. I transcended my own
smaller, pettier self, transcended my own self-hatred, incredible neediness, incredible need for approval. I went
beyond that and was kind of like free-floating in space or something. That is what J call the experience of God.

The other way one can talk about this is, was profoundly, profoundly in love with this man.

You write about moving through pain to pleasure. You even use the word "masochist" in the book. Is
anal sex a masochistic pleasure?

It's not that I want to hurt. I don't want to be in pain, emotional or physical, more than anyone else. But I do have

a deep connection to pain, both as a dancer and -- how can I explain this -- it's really hard to explain. I won't let a
guy near me who doesn't treat me like a queen, I can promise you. Yet to be very submissive, to have this kind of
sex act repeatedly with this man. One can call that masochistic. But there was zero bad about it.

I was more vulnerable with him than I'd ever been with anyone else. That's also why it was so painful at the end.
I really went very, very deeply into vulnerability and that dark side because I trusted him.

The other thing about masochism is that if it is defined as being intensely receptive and open, then that is going
back to male/female traits, because that is a feminine place to be -- to be the ones who get penetrated vaginally or
otherwise.

But your argument that you were feminine falls apart when you consider that you took these acts and
wrote them down and are talking about them now: an analytical, intellectually penetrative act that you
would ascribe to a masculine energy.

That's true actually. Here I am with this book ... the phallic pen and all that. Who knows, it's possible I went so
deeply into my submission that a strange balance brought out the other part. It's very possible that in many ways
writing was counterbalance to the vulnerability and the way I kept control.

Also, you know we all have that question: Who's on top, who's on the bottom, who's in control?

In S/M, they say the bottom is in control.

About the writer
Rebecca Traister is a staff writer for
Salon Life.

Sound Off
Send us a Letter to the Editor

02/16/2006 4:36 PM
salon.com Life | Rectal romance http://www.salon.com/mwt/feature/2004/10/08/bentley/print.html
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 22 of 52

Related stories

Hollywood goes down

A spate of new films -- one with
girl-next-door Meg Ryan -- depict
graphic oral sex scenes. Is the film
industry's portrayal of sexuality finally
beginning to get real?

By Rebecca Traister

10/23/03

m3 6Salon.com >> Life

Salon Search About Salon Table Talk Advertise in Salon Investor Relations

News & Politics | Opinion | Tech & Business | Arts & Entertainment
Indie film | Books | Life | Comics | Audio | Dialogue
Letters | Columnists | Salon Gear

Reproduction of material from any Salon pages without written permission is strictly prohibited
Copyright 2005 Salon.com

Salon, 22 4th Street, 11th Floor, San Francisco, CA 94103
| Telephone 415 645-9200 | Fax 415 645-9204
| E-mail | Salon.com Privacy Policy | Terms of Service

of 6 02/16/2006 4:36 PM
Sex - Salon

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 BRGE Sa (aR topics/sex/index.btml

Ads by Yahoo!

Salon Member log in | Help
Ben membership

articles now:

CLICK AND WATCH A BRIEF AD secviens + [ene
TO READ ALL SALON STORIES : 77"!

ge

paowerad by

® Salon ©) The Web “VRETOO! search

e Comics

e Community

° Life

e News & Politics
e Opinion

e Sports

e Tech & Business

e Letters

Sex

Browse all topics by letter:

Filter this topie |.

Vive la Liberator!

It looks like an ordinary orthopedic back pillow -- but can a mail-order sex prop really set my fantasies
free?

By Mary Elizabeth Williams [2006-07-05]

Big love

Forget abs of steel -- give me soft arms, wide hips and fleshy lips! For as long as I can remember, I've
been turned on by fat women.

1 of 5 7/25/2006 10:18 AM
Sex Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 BRiGe sHaycBm oPics/sex/index. htm!

2 of 5

By Josh Max [2006-06-22]

Live girl-on-girl action!

“sce! Girls making out with each other to turn on guys is the latest craze at high school and college parties. Is
this sexual liberation, or regression?

By Whitney Joiner [2006-06-20]

Do women want a sex-drive drug?

A pharmaceutical company claims to have a truly effective sex aid for women, one that affects the brain and not
just the genitals.

Page Rockwell [2006-05-19]

Like water for sex

Arkansas mayor solicits two women after they fall behind on water bills.

Katharine Mieszkowski [2006-05-19]

The classy bachelor party

Tired of strippers, some men just want to hang out and talk. There's nothing unmanly about that.

Sarah Elizabeth Richards [2006-05-15]

Hope for the homely

Research on male flycatchers topples Darwin's theory of sexual selection.

Sarah Elizabeth Richards [2006-05-08]

Top 25 reasons to hate high school

A list of the hottest girls in school finds an outraged audience.

Sarah Goldstein [2006-04-27]

Classroom confidential

Following a number of high-profile sex abuse scandals, high schools across the country have begun
carefully policing teacher-student relationships. But is this new vigilance keeping the most committed teachers
from doing their best?

By Sarah Karnasiewiez [2006-04-27]

A marked woman

When I decided to get a tattoo with a man I'd only known for two weeks, my children worried I'd lost
my mind. But I knew that whether it was in ink or emotions, love would always leave me scarred.

By Ann Bauer [2006-03-11]

7/25/2006 10:18 AM
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 "PR s4°B

Sex - Salon

My Ambien lover

the affectionate man of my dreams.

By Tessa Blake [2006-03-10]

Forbidden fruits

A new book explores the juicy relationship between food and sex.

By Sarah Karnasiewicz [2006-02-13]

Are female boomers getting any, or not?

A skeptical Daphne Merkin takes on the upbeat Gail Sheehy.
Rebecca Traister [2006-02-12]

Sex (Next )

Site Pass sponsored by

Your Ad Here

3D Avatar Dating & Chat
Feeling lonely?Need friend?Come to Oz, get married be filled with love

Try Netflix for Free.
Choose From 55,000 DVD Titles - Check It Out Here.

Put your web poll here

fauy topics/sex/index. html

By day, my boyfriend acted cold and distant. But at night, after popping his pill, he transformed into

7/25/2006 10:18 AM
Sex - Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 "BRAGA Sel acgB/opics/sex/index.btml

4 of 5

éQue marca de fijador
del pelo se compraria si
cuestan la misma precio?

Your Ad Here
$75 Free PartyPoker.com
Get $75 Absolutely Free - No Deposits Required!!!

Try Netflix for Free.
Choose From 55,000 DVD Titles - Check It Out Here.

Ads by Yahoo!

Salon Media Group, Inc
101 Spear Street, Suite 203
San Francisco, CA 94105
Telephone 415 645-9200
Fax 415 645-9204

Salon | About Salon | Contact & Help | Advertise in Salon | Premium log in | Salon Personals

Arts & Entertainment | Books | Comics | Community: Table Talk & The Well | Corrections | Life | News &
Politics | Opinion | Sports | Tech & Business | Letters

7/25/2006 10:18 AM
Sex - Salon . http: //dir.salon. scon/topics/sex/index. html
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page 27 ot

Investor Relations | Salon Privacy Policy | Terms of Service

Copyright © 2006 Salon Media Group, Inc. Reproduction of material from any Salon pages without written
permission is strictly prohibited. SALON® is registered in the U.S. Patent and Trademark Office as a trademark
of Salon Media Group Inc.

5 of 5 7/25/2006 10:18 AM
Sexuality - Salon

1 of 4

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07}5B/ggansg 7a feiss sexuality/index html

HSRC UTIL ECHO PEED ELL cropae
UIE RUE CLCUIRES USE LA RE Ue

on Member log in | Help
Benefi 5 Of membership

articles now:

CLICK AND WATCH A BRIEF AD: ine :
TO READ ALL SALON STORIES : resented by

powered by
VRETOO! searcn

Search: Search, Gol | @Salon OThe Web

° A&E
e Books
_ © Comics
— © Community
° Life
® News & Politics
e Opinion
e Sports
e Tech & Business
e Letters

Sexuality

Browse all topics by letter:

Letters

To pole dance, or not to pole dance: Is that the question? Readers respond to Christine Smallwood's "Girls Gone
Wild."

[2005-10-07]

MetroDaddy speaks!

* In an interview (with himself) the man who introduced us to the term "metrosexual" explains why it
conquered the culture, bemoans his own "lesbosexual" style, and critiques "Queer Eye," Howard Dean and
Schwarzenegger.

By Mark Simpson [2004-01-05] .

7/25/2006 10:19 AM
Sexuality- Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07A58 Sager se TUfwiss/semuality/index. html

2 of 4

"The Only Girl in the Car" by Kathy Dobie

In this remarkable memoir, a former ‘70s teen "slut" looks back on the mysteries of adolescent sex and the
female quest for freedom.

By Laura Miller [2003-03-19]

In search of her father's girlhood

Noelle Howey, author of "Dress Codes: Of Three Girlhoods -- My Mother's, My Father's, and Mine," discusses
sexuality, angora and life with a transgender parent.

By Amy Benfer [2002-07-03]

False accusations, bad boys and stripping Christians

Readers respond to recent articles on molestation allegations, acceptable sexual behavior and the Christian way
to handle exotic dancers.

[2002-05-24]

Go out and get a piece, son!

Right-wing moralizers wink at boys’ sexual foibles -- it's unfettered female sexuality that they think is leading us
into perdition.

By Lara Riscol [2002-05-21]

The crying game

Sexual rights activists are hoping that transgender beauty Amanda Milan, the victim of a shocking murder, did
not die in vain.

By Nina Siegal [2001-06-20]

The energy mess and fascist gays

By Camille Paglia

[2001-06-01]

* Solo Solo pleasure
pleas

' A former sex columnist answers the most common masturbation questions and wonders why it's still
taboo to talk about what we all do.

By Michael Castleman [2001-05-23]

| "So, what do you think, am I normal?"

How the Web has changed access to sex information -- and the kind of advice people seek. Second of
two parts.

By Michael Castleman [2001-03-15]

7/25/2006 10:19. AM
Sexuality - Salon i Salon.com /topics/ sexuality/index.html

. Ah
Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/88 age

The clit conspiracy

Rebecca Chalker wants to return our attention to the part of a woman's body that's all about pleasure.
Plus: A rant about "vagina night."

By Barbara Raab [2001-03-05]

In the year of the (fake) snake

If 2000 is any indicator, 21st century style is going to be all about showing skin -- and it doesn't even have to be
your own.

By Adrienne Crew [2000-10-19]

Lesbian fingers

Discrimination against us is underlined in the indelible ink of science.
By Laurie Essig [2000-10-16]

Sexuality (Next )

COLUIGL
fi

Site Pass Presented by

Let's fund our own
medial

Join Salen Prernium.

hips ¥Sub salon comvrayistrations

Your Ad Here |
Look Up Your Ex
Browse 40,000,000 Profiles of Old Girlfriends Here

3 of 4 7/25/2006 10:19 AM
Sexuality - Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07#5B Baga st BBs sexuality index ham!

4 of 4

Try Netflix for Free.
Choose From 55,000 DVD Titles - Check It Out Here.

Make Your Donation Today

Help Rebuild Lives.& Communities in Hurricane Affected States.
www.BushClintonKatrinaFund.org

Salon Media Group, Inc
101 Spear Street, Suite 203
San Francisco, CA 94105
Telephone 415 645-9200
Fax 415 645-9204

Salon | About Salon | Contact & Help | Advertise in Salon | Premium log in | Salon Personals

Arts & Entertainment | Books | Comics | Community: Table Talk & The Well | Corrections | Life | News &
Politics | Opinion | Sports | Tech & Business | Letters

Investor Relations | Salon Privacy Policy | Terms of Service

Copyright © 2006 Salon Media Group, Inc. Reproduction of material from any Salon pages without written
permission is strictly prohibited. SALON® is registered in the U.S. Patent and Trademark Office as a trademark
of Salon Media Group Inc.

7/25/2006 10:19 AM
Homosexuality - Salo 456 9-98-cy-05591-LR Document 292-16 Filed OBRI/fIS™ BAGS BE SPS aos ndex hem

Wate

Search: |Search a uussuan

CLICK AND WATCH A BRIEF AD ier sed ty
TO READ ALL SALON STORIES :°@Seree OY

powerad by

| ®Salon @The Web VEEIOO! search

° A&E

e Books

e Comics

e Community

° Life

e News & Politics
e Opinion

e Sports

e Tech & Business
© Letters —

Homosexuality

Browse all topics by letter:

Filter this topic:| oc

Gay, godly and guilty

The thoughtful new book "Straight to Jesus" reveals the torment suffered by gay Christians who
entered a residential program to battle their sexual desires.

By Laura Miller [2006-07-11]

) King Kaufman's Sports Daily

~~ Playoffs are over, let's turn to baseball. Oh, Ozzie Guillen's insulting people again. Plus: World Cup
scoring update.

lof4 . 7/25/2006 10:19 AM

|
|
|
Homosexuality - Salo& ace 2:98-cv-05591-LR Document 292-16 Filed O8f87fHe= Baga gE gfhgposemuality index html

2 of 4

[2006-06-22]

It's a girl!

The election of a woman to head the American Episcopal Church is a challenge to purity movements
that seek to exclude gays and other "outcasts."

By Sara Miles and Paul Fromberg [2006-06-19]

I'm a snappy dresser, and the other night, my wife and I were hanging out in this gay bar ...

By Cary Tennis [2006-03-27]

King Kaufman's Sports Daily

Sheryl Swoopes' coming out was no big deal. That's a big deal. Plus: Barkley's first dunk.

[2005-11-02]

Rome's latest witch hunt won't stop with gays

Under cover of the sex-abuse scandal, the Vatican is scapegoating homosexuals in order to purge all "wrong
thinkers" from the American Catholic Church.

By Sara Miles [2005-10-03]

King Kaufman's Sports Daily

"Queer Eye" in the clubhouse: The Red Sox have never been so boring, but Kevin Millar happily shouting, "I
am now gay" can only be a good thing.

[2005-06-08]

King Kaufman's Sports Daily

Emile Griffith was a champion and one tragic time a literal killer in the ring. Outside of it, he was a charming
enigma, possibly gay. USA Network tells his riveting story in "Ring of Fire."

[2005-04-20]

King Kaufman's Sports Daily

Americans are confused about gays in sports, but one expert says the first man out of the closet will be cheered.
Plus: Yanks-Sox tempest in a Fenway teapot. And: A fabulous farewell.

[2005-04-15]

A divider, not a uniter

The charismatic Pope John Paul It chose not to engage all Catholics, and so leaves a tragic legacy of missed
opportunity that has ultimately damaged the church.

7/25/2006 10:19 AM
Homosexuality - Salop. <4 9-98-cv-05591-LR Document 292-16 Filed OOPB7/tes= page ep iay to posexualityindex. html

By Frances Kissling [2005-04-04]

Compassionate conservative

John Paul II has been appropriated by the American right. But his "culture of life" was not the same as theirs.

By Amy Sullivan [2005-04-02]

Scrooge's nightmare

Despite Bush's election, the cranky old conservatives' days are numbered. The future belongs to middle-aged
boomers and their kids, who embrace the tolerant values of the '60s.

By Leonard Steinhorn [2004-11-25]

Not just a socialite, but a gritty survivor

Susan Mary Alsop, who died last month, faced a personal crisis when the KGB tried to smear her influential
columnist husband, Joseph. A friend recalls her courage in the face of that ordeal.

By Edwin M. Yoder Jr. [2004-09-28]

Homosexuality (Next )

Site Pass Presented by

Support indeperdent
media

Jain Salon Premium today

htlps feub salon cormregiatration?

3 of 4 7/25/2006 10:19 AM
Homosexuality - Salo® 4-6 9:98-cv-05591-LR Document 292-16 Filed O8fB7/te =| PRge Bnsipy apo semuality/index. html

4 of 4

Your Ad Here
Try Netflix for Free.
Choose From 55,000 DVD Titles - Check It Out Here.

Look Up Your Ex
Browse 40,000,000 Profiles of Old Girlfriends Here

Sports Ringtone Sports Tickets Retire Young Retire Rich

Get This Ringtone on Your Phone. No Charge - Buy Sporting Event Tickets. Where Fans Buy A Home Business That Can Retire You In
Don't Pay - Get it Now! & Sell Tickets.™ Three To Five Years - Freedom
spicymint.com www. StubHub.com www. yourlinktofreedom.com

Salon Media Group, Inc
101 Spear Street, Suite 203
San Francisco, CA 94105
Telephone 415 645-9200
Fax 415 645-9204

Salon | About Salon | Contact & Help | Advertise in Salon | Premium log in | Salon Personals

Arts & Entertainment | Books | Comics | Community: Table Talk & The Well | Corrections | Life | News &
Politics | Opinion | Sports | Tech & Business | Letters

Investor Relations | Salon Privacy Policy | Terms of Service

Copyright © 2006 Salon Media Group, Inc. Reproduction of material from any Salon pages without written
permission is strictly prohibited. SALON® is registered in the U.S. Patent and Trademark Office as a trademark
of Salon Media Group Inc.

7/25/2006 10:19 AM
Gay - Salon

1 of 5

Salon Member log in | Help
Ben membership

Se ;
dand

Watch a

articles now:

CLICK AND WATCH A BRIEF AD in sae by
TO READ ALL SALON sToRIEs :° eSBs

aR UERAAEER

powerad by

@Salon ©The Web 42xeIOO! seascn

° A&E

® Books

e Comics

e Community

* Life

e News & Politics
e Opinion

e Sports

e Tech & Business
e Letters

Gay

Browse all topics by letter:

Filter this topic: |.

Don't write Rick Santorum into the Constitution

The Federal Marriage Amendment goes to Senate vote today -- and it shouldn't go silently.

Lynn Harris [2006-06-07]

& San Franciscophobia

her Nancy boys are coming"? This is pathetic.

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 DBR seogrca/topics/eay/index.himl

* We're stuck with a terrible war and a worse president, and all the GOP can do is scream, "Pelosi and

7/25/2006 10:20 AM
Gay - Salon

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 "BRigd a4 area topics/gay/index.himl

By Garrison Keillor [2006-06-07]

The gay boogeyman's gonna git ya!

A gay scare film that could've come straight from the Bush White House!

K.L. [2006-06-05]

"Dear Mr. Leno: Gay people, to you, are great material"

"Avenue Q" writer takes Jay Leno to task.

Lynn Harris [2006-04-26]

White's albums

Rejecting Freudian analysis and embracing his true identity, Edmund White penned two landmarks of

gay literature and redefined the autobiographical novel.

By Allen Barra [2006-04-26]

Lesbian, gay families to celebrate Easter on White House lawn

Parents plan to wear rambow-colored Hawaiian leis to traditional egg roll.

Katharine Mieszkowski [2006-04-14]

We are "natural family"

The Kanab, Utah, City Council adds bigotry to the area's many attractions.

Lynn Harris [2006-01-25]

Gay after gay

Brand new sitcom thinks the word "gay" is hysterical

HLH. [2006-01-11]

Homo confidential

From blackmail to fake marriages, Tab Hunter and Rock Hudson led strange double lives as '50s heartthrobs
who were secretly gay.

By Laura Miller [2005-10-19]

Queer as folk

Paul Lynde never officially came out -- but the "Hollywood Squares" star was the first TV personality to bring
gay humor to the masses.

By Mike Sacks [2005-08-23]

Sex panic

2 of 5

7/25/2006 10:20 AM
Gay - Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 SBHgitsdoaan/topics/say/index.html

Veteran AIDS activist and playwright Larry Kramer is still denouncing young gay men for spreading HIV
through reckless sex and drug use. He needs to drop the angry-prophet pose and start talking to the people on the
front lines.

By Richard Kim [2005-05-07]

FDA to gay men: No thanks

George W. Bush's Food and Drug Administration says men who have engaged in gay sex in the last five years
shouldn't be anonymous sperm donors.

Tim Grieve [2005-05-06]

Microsoft: On message, persuading no one

In explaining away a flip-flop on gay rights, CEO Steve Ballmer repeats the company line. Activist groups aren't
amused,

Tim Grieve [2005-04-25]

Support independent
media

Jain Salon Premium today

https sub salon convregiarations

Your Ad Here
Look Up Your Ex
Browse 40,000,000 Profiles of Old Girlfriends Here

3 of 5 7/25/2006 10:20 AM
Gay - Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 "BAGH earay opics/eayindex btm!

Try Netflix for Free.
Choose From 55,000 DVD Titles - Check It Out Here.

Ads by Google

Gay PR/Marketing
Build awareness in the
gay market! Proven

results. Visit our site.
www.re-verberate.com

West Hollywood Gay
Travel

Information for the LGBT
Community Hotels, Clubs,

Restaurants, etc.
www.gogaywesthollywood.com

indiana Gays &
Lesbians

Official site. For
relationships. Meet local

singles. 100% join free.
IndianaGaySingles.com

DC Gays & Lesbians
Meet Washington DC
Gays, Lesbians, &
Bisexuals. Register Fast &
Free.

DCGaySingies.com

Lesbian Dating and
Events

Find friends, dates,
events and more at

girlfriendsmeet.com!
www.girlfriendsmeet.com/sign

ce . voce teen tem eee arp aPaiitGay Mariage Sateey & !
www.pollingpoint.com : Feedback - Ads by Google
Salon Media Group, Inc
101 Spear Street, Suite 203
San Francisco, CA 94105
Telephone 415 645-9200
Fax 415 645-9204

Salon | About Salon | Contact & Help | Advertise in Salon | Premium log in | Salon Personals

4 of 5 7/25/2006 10:20 AM
Gay - Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 PERE rR pee oPics/eayindex. html

Arts & Entertainment | Books | Comics | Community: Table Talk & The Well | Corrections | Life | News &
Politics | Opinion | Sports | Tech & Business | Letters

Investor Relations | Salon Privacy Policy | Terms of Service

Copyright © 2006 Salon Media Group, Inc. Reproduction of material from any Salon pages without written
permission is strictly prohibited. SALON® is registered in the U.S. Patent and Trademark Office as a trademark
of Salon Media Group Inc.

5 of 5 7/25/2006 10:20 AM
Lesbians - Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/BRPeiglon qm tapes lesbians/index.htnal

Salon Member log in | Help
Benefits of membership

articles now:

CLICK AND WATCH A BRIEF AD ie pa
TO READ ALL SALON sTORIEs :*'@8eren

pawerad by

| | @Salon ©The Web “YvxginOh seaacn

e Comics

e Community

° Life

e News & Politics

e Opinion

e Sports
e Tech & Business

e Letters

Lesbians

Browse all topics by letter:

Live girl-on-girl action!

° Girls making out with each other to turn on guys is the latest craze at high school and college parties. Is
this sexual liberation, or regression?

By Whitney Joiner [2006-06-20]

Flickr photo shows lesbians kissing in Tiananmen Square

It's a great picture, but it doesn't mean China is a haven for gay couples.

Lori Leibovich [2006-01-17]

Mike Bloomberg's coming-out story

1 of 5 7/25/2006 10:20 AM

Lesbians Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/B@:BReplen cpr tggics/lesbians/index.html

2 of 5

A lesbian politician welcomes the New York mayor to her team.

Lynn Harris [2006-01-12]

Canada drifts further from the U.S.

Its new law legalizing gay marriage may not lead to a stampede to the altar -- but it highlights how much
Canadians dislike self-righteous bigotry.

By Barry Boyce [2005-06-30]

Worth waiting for

Washington is a rare outpost of optimism in gay America, and that may be because the state is moving slowly on
same-sex marriage.

By Eli Sanders [2005-05-02]

Paralyzed Broadcasting System

When Bush's education secretary objected to a lesbian couple in a children's cartoon, PBS instantly caved in. Is
the network becoming the White House's lap dog?

By Eric Boehlert [2005-02-04]

The Oprah way

To change people's minds on issues like gay marriage, liberals need to learn to tug at their heartstrings.

By Jennifer Buckendorff [2005-01-24]

Babymaking

Jane and I spent 10 years discussing whether to have a child. Like many straight couples, we finally decided to
leave it to the fates. But in our case the fates held a speculum, a catheter and a vial of sperm.

By Amie Klempnauer [2004-08-11]

Burning down the Log Cabin

Assailing the "cabal of geniuses" who cooked up the gay marriage ban, one of the GOP's only openly gay leaders
breaks with his party.

By Eric Boehlert [2004-06-03]

| Straight eve for the queer gals

Why do men love to see women kissing? It's about self-loathing -- and the lusciousness of the female

body.

By Charles Taylor [2003-08-27]

Coming out Rosie

7/25/2006 10:20 AM
Lesbians - Salon

3 of 5

Is O'Donnell's admission of her sexual preference a bombshell -- or a no-brainer?

By Mary Elizabeth Williams [2002-02-13]

Why do you think they called them "best boys"?

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/58: Baus Reps lesbians index.

bem

A new book names names and tells tales as it charts the lasting influence of gays and lesbians on the movie

business.

By Douglas Cruickshank [2001-11-08]

The other woman

When my mom split up with my not-mom, Mother's Day lost its charm.
By Molly Hennessy-Fiske [2001-05-10]

Lesbians ( Next )

Site Pass Presented by

geet

Support independent
media

Jain Salon Premium today

https Jérub salon comiraegistralion?

Your Ad Here

Look Up Your Ex
Browse 40,000,000 Profiles of Old Girlfriends Here

Try Netflix for Free.

Choose From 55,000 DVD Titles - Check It Out Here.

7/25/2006 10:20 AM
| Lesbians - Salon — Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/BRP:/ BRR PAS fees lesbians index.html

Ads by Google

| Lesbian Dating ~ Free
Browse Photos and Meet
Singles Free Search and
| Profiles

: www. Modern-Singles.com

Gays and lesbians
Date Tens of Thousands
of Sexy Lesbian Singles
now.

www. Date.com

Louisiana Gays &
Lesbians

Official site. For
relationships. Meet local

singles. 100% join free.
LouisianaGaySingles.com

Lesbian Mobile
Community

Milions Profiles of Lesbian
Singles Free Registration.

Join Now !
www. clubma.tv

Searching For

Lesbians?
We'll Pay You $300 Right
Now To Take A Quick
Lesbian Survey!
HighPaySurveys.com
t
|
Local Photo Personal Ads Single Lesbians ABC News - Gay Marriage Where Can You Volunteer?
Find Fun, Romance, Love and Find Single Lesbians Online Visit ABC News' Legal Center for §TimeBank can help you inspire
More. Safely & Securely. Meet Browse our Profiles Free! Same-Sex Marriage Coverage. many people locally or around the
Someone Now world!

Salon Media Group, Inc
101 Spear Street, Suite 203
San Francisco, CA 94105
Telephone 415 645-9200
Fax 415 645-9204

Salon | About Salon | Contact & Help | Advertise in Salon | Premium log in | Salon Personals

Arts & Entertainment | Books | Comics | Community: Table Talk & The Well | Corrections | Life | News &
Politics | Opinion | Sports | Tech & Business | Letters

4 of5 7/25/2006 10:20 AM

Lesbians Salon — Case 2:98-cv-05591-LR Document 292-16 Filed 09/07 ASB" BRP RE ees tesbians/index. htm!

Investor Relations | Salon Privacy Policy | Terms of Service

Copyright © 2006 Salon Media Group, Inc. Reproduction of material from any Salon pages without written
permission is strictly prohibited. SALON® is registered in the U.S. Patent and Trademark Office as a trademark
of Salon Media Group Inc.

5 of 5 7/25/2006 10:20 AM
Oral Sex- Salon — Case 2:98-cv-05591-LR Document 292-16 Filed 09/07 R58 Besgloyeraftepies/oral_sex/index html

Salon Member log in | Help
Benefits of membership

mn articles now:

3

Search: Search ss (“ (ss Gol | @Salon OThe Web “YRetoO! seancy

¢ A&E

® Books

e Comics

* Community

e Life ,

e News & Politics
e Opinion

e Sports

e Tech & Business
e Letters

Oral Sex

Browse all topics by letter:

» Oral Sex, articles 1- 13 of 2312-5

Terrible teasers

Teasers that pander to the lowest common denominator

HH. [2005-11-29]

Go down, young men!

Sexologist Ian Kerner talks to Salon about his new book, "She Comes First," and why the well-trained tongue is
mightier than the "sword."

By Corrie Pikul [2004-06-02]

| | Hollywood goes down

1 of 4 7/25/2006 10:21 AM
Oral Sex-Salon = Case 2:98-cv-05591-LR Document 292-16 Filed 09/07R88'/daegqloneprp/fapics/oral_sex/index.html

2 of 4

“A spate of new films -- one with girl-next-door Meg Ryan -- depict graphic oral sex scenes. Is
the film industry's portrayal of sexuality finally beginning to get real?

By Rebecca Traister [2003-10-23]

A teen sex guru speaks

Kids -- and their parents -- need to tackle taboos, says psychiatrist Lynn Ponton.

By Amy Benfer [2001-01-10]

The virginity hoax

A federal study reveals the terrible failures inherent in teen vows to chastity.

By Jennifer Foote Sweeney [2001-01-08]

im Side-locked but not sidelined

GS} Foy today's young Hasidic couples, pleasurable sex just might be kosher after all.

By Rebecca Segall [2000-07-06]

Letters to the editor

Should TV be left to liberals? Plus: Is "snacking" less fun for the "snackee"? Holocaust survivor says he owes
his life to "sheer luck."

[2000-05-04]

Snacking
If only women would trust men's genuine desire to give oral sex, instead of presuming it's all about intercourse.

By Dylan Edwards [2000-05-02]

Dead senator running?

LBJ's son-in-law Chuck Robb once seemed to be on the fast track to the White House, but these days, he's
considered the senator most likely to lose his job in 2000.

By Jake Tapper [1999-11-17]

"Drop ‘em, babe!"

[have two words for married twosomes: Oral sex.

_By Carol Ormandy [1999-11-16]

Girl talk

Are frank online discussions of blow jobs and masturbation empowering teen girls -- or turning them into
Lolitas?

7/25/2006 10:21 AM
Oral Sex-Salon Case 2:98-cv-05591-LR Document 292-16 Filed 09/07 A58://qrgqlongoryfopiss/oral_sex/index.html

By Janelle Brown [1999-07-28]

Letters to the Editor

Wendy Shalit's new prudery does women no favors; both sexes are changing their attitudes on oral sex;
Scientology critics seek protection for free speech.

Letters to the Editor [1999-07-28]

Gen X's change of head

To the women who came of age in the '60s, oral sex was an act of great intimacy. To their daughters, it's about as
intimate as shaking hands.

By Shari Thurer [1999-07-21]

Site Pass Presented by

Support independent
media

Jain Salon Premiurn today

https suk salon eorvregistratan?

Your Ad Here
Try Netflix for Free.
Choose From 55,000 DVD Titles - Check It Out Here.

Look Up Your Ex
Browse 40,000,000 Profiles of Old Girlfriends Here

3 of 4 7/25/2006 10:21 AM
Oral Sex- Salon — Case 2:98-cv-05591-LR Document 292-16 Filed 09/07A58:/Bagqzloueaftepies/oral_sex/index html

4 of 4

Ads by Yahoo!

Salon Media Group, Inc
101 Spear Street, Suite 203
San Francisco, CA 94105
Telephone 415 645-9200
Fax 415 645-9204

Salon | About Salon | Contact & Help | Advertise in Salon | Premium log in | Salon Personals

Arts & Entertainment | Books | Comics | Community: Table Talk & The Well | Corrections | Life | News &
Politics | Opinion | Sports | Tech & Business | Letters

Investor Relations | Salon Privacy Policy | Terms of Service

Copyright © 2006 Salon Media Group, Inc. Reproduction of material from any Salon pages without written
permission is strictly prohibited. SALON® is registered in the U.S. Patent and Trademark Office as a trademark
of Salon Media Group Inc,

7/25/2006 10:21 AM
Salon.com

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page SiRifsyy-salon.com/dialogue/

1 of 3

Search Salon

PO OK f.

Directory
Hot Topics

Articles by date

® All of Salon.com
® By department

News & Politics
Opinion

Tech & Business

Arts & Entertainment

Books
Life
Comics
Dialogue

Letters

DIALOGUE

THE

The WELL

A place made of words

- Ever had a really special place to hang out? That special place online is The WELL. A

gathering place where the currency is ideas. Where you actually know the name of the
person you're talking with. This leads to real conversations and relationships. It's the
people of The WELL who determine this experience and make community possible.
Community is the word people have used to describe their attraction to the conversation
there since it started, in hundreds of members-only forums launched by a remarkable
group of Northern California writers and iconoclasts way back in 1985. The WELL was
the place where Salon itself was planned -- and new visions are hatched there daily.

TMore About The WELL]

Table Talk

Salon's spirited forums

Where do Salon's readers gather to debate the news of the day, share the real issues of
their lives and forge values and viewpoints? Since Salon was born, Table Talk has
provided a town square for interactive feedback and a powerful destination in its own
right. TTers are an eclectic group with strong and articulate opinions. A group that has
found ways to influence events in the world, and to change one another's lives. Most of
TT can be read by the world at large, and use of your real name is common but not
mandatory there. Table Talk shifts plans, purposes and perspectives.

More About Tabdie Talk]

Salon Personals

Every day, Salon publishes a mix of articles that are adventurous, smart, sexy and wry.
So it's no surprise that our readers tend to embody those same traits. When you join

7/25/2006 10:22 AM
Salon.com

2 of 3

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page StRyfes"-salon.convdialogue/

Table Talk
[Spirited
Salon forums]

How _will you lose
those last ten

pounds?

Who's speaking up --
and out -- against
the president?

® Posts of the week

The Well
[Pioneering
members-only
discussions]

On the air: From
traffic reporter to
radio personality
Sound Off

® Letter to the Editor

® Salon Blogs

Short Fiction: Ken

Ken Foster .

Satire : Neal Pollack

Pollack

Salon Personals, you tap into thousands of readers like yourself who value originality,
have-a healthy streak of irreverence and aren't satisfied with the dating status quo.

Search in-depth profiles and photos. Communicate instantly with prospective matches
through e-mail and instant messages. All in a private, secure environment.

Check out some current Salon Personals members right now just by clicking here,

Salon Blogs

Say your piece on the Web! Start your own weblog, or blog, and record your thoughts
and opinions in the community of Salon's bloggers. Blogs can be political journals
and/or personal diaries; they can focus on one narrow subject or range across a universe
of topics. The blog form is unique to the Web -- and highly addictive. Salon blogs will
show up on special listings of recently updated and most-read blogs.

|More about Salon Blogs]

Letters to Salon

Read all of our letters to the editor, or send us one yourself,

7/25/2006 10:22 AM
Salon.com

Case 2:98-cv-05591-LR Document 292-16 Filed 09/07/06 Page Serif se" salon.com/dialogue/

Personals
Newsletter
Unsubscribe

Salon's RSS Feeds

Salon Publications

Salon Store

3 of 3

Customer Service
About Salon

Advertise in Salon
Investor Relations

Salon Search About Salon Table Talk Advertise in Salon Investor Relations | Premium jog in

News & Politics | Opinion | Tech & Business | Arts & Entertainment
Indie film | Beeks | Life | Comics | Audio | Dialogue
Letters | Columnists | Salon Gear

Reproduction of material from any Salon pages without written permission is strictly prohibited
Copyright 2005 Salon.com

Salon Media Group, Inc.
101 Spear Street, Suite 203
San Francisco, CA 94105
Telephone 415 645-9200 | Fax 415 645-9204
E-mail | Help | Salon.com Privacy Policy | Terms of Service

7/25/2006 10:22 AM
